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GUILLERMO LOPEZ AND ELIDA
LOPEZ, HUSBAND AND WIFE
SECTION “C”
VERSUS
MAG. 3
OCHSNER CLINIC, OCHSNER CLINIC AND
HOSPITAL, OCHSNER HOSPITAL AND
ALTON OCHSNER MEDICAL FOUNDATION
HOSPITAL, INC

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JUDGMENT

This matter came before this Honorable Court on the joint petition for court approval
of the settlement of a medical malpractice claim filed by Guillermo Lopez and Elida Lopez and The
Louisiana Patients’ Compensation Fund and Fund Oversight Board. The Court, having been fully
informed of the premises, having fully considered the petition, and being of the opinion that the
proposed settlement is fair and proper and in conformity with the provision of the Louisiana Medical
Malpractice Act;

IT IS HEREBY ORDERED, ADJUDGED, AND DECREED that the proposed
settlement be, and it is hereby, approved, the sum of $700,000.00 to be paid to Guillermo Lopez and
Elida Lopez, and their attorney, and $200,000 to Ochsner Foundation Hospital;

IT IS FURTHER ORDERED, ADJUDGED, AND DECREED that plaintiffs, Guillermo
Lopez and Elida Lopez, be, and they are hereby, specifically authorized to execute binding receipts
and releases in favor of the Louisiana Patients' Compensation Fund and Fund Oversight Board and
any and all persons or corporations for which the Louisiana Patients' Compensation Fund may be

legally responsible, releasing each and alLof them from any and all liability to plaintiffs for any and
DATE OF ENTRY

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all claims arising out of the above entitled matter.

JUDGMENT READ, RENDERED, AND SIGNED in New Orleans, Louisiana, this 23

day of ( pent , 2000.

 

Cc) JUDGE
